
Patterson, J. (concurring) :
I concur fully in the views expressed by Mi*. Justice McLaughlin in his opinion in this case. Much was said upon the argument concerning the so-called unconscionable character of- the agreement upon which the action was brought. There is nothing whatever in the record even to suggest that the agreement was of that character. The services rendered by the plaintiffs’ firm were of the greatest value to'the defendant Cutting, and secured for him a result for which a compensation of ten per cent upon the amount realized cannot be called exorbitant. In view of what was accomplished by the plaintiffs’ firm, that compensation is reasonable. Mr. Cutting acquiesced in the contract with knowledge of all its bearings, and from time to time paid the amounts he agreed to pay and thus .repeatedly ratified it after abundant opportunity for consideration. In such circumstance's a party will not be heard upon a claim that the arrangement he assails is unconscionable. (Kent v. Quicksilver Mining Co., 78 N. Y. 190.)
Laughlin, J., concurred.
Judgment affirmed, with costs. Order filed.
